 Case 4:19-cv-00715-SDJ Document 27 Filed 12/16/19 Page 1 of 2 PageID #: 363



                          UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                SHERMAN DIVISION

FEDERAL TRADE COMMISSION,                       §
                                                §
       Plaintiff,                               §
                                                §
v.                                              §
                                                §   Case No. 4:19-cv-00715
ADVOCARE INTERNATIONAL, INC.,                   §
A limited partnership, BRIAN                    §
CONNOLLY, DANNY McDANIEL,                       §
DIANE McDANIEL, CARLTON                         §
HARDMAN and LISA HARDMAN,                       §
                                                §
       Defendants.                              §

            DEFENDANTS’ NOTICE OF MAKING INITIAL DISCLOSURES

       Defendants Danny McDaniel and Diane McDaniel (“Defendants”) serve this Notice of

Making Initial Disclosures, and state:

       Today the Defendants served upon the Plaintiff the disclosures required by Fed. R. Civ.

P. 26(a)(1)(A) along with the additional information required by the Court’s order.

                                                    BANOWSKY & LEVINE, P.C.

                                                    /s/ Baxter W. Banowsky
                                                    Baxter W. Banowsky
                                                    State Bar No. 00783593
                                                    bwb@banowsky.com
                                                    Scott D. Levine
                                                    State Bar. No. 00784467
                                                    sdl@banowsky.com

                                                    12801 N. Central Expy., Ste 1700
                                                    Dallas, Texas 75243
                                                    (214) 871-1300
                                                    (214) 871-0038 (facsimile)

                                                    ATTORNEYS FOR DANNY
                                                    AND DIANE McDANIEL



                                                1
 Case 4:19-cv-00715-SDJ Document 27 Filed 12/16/19 Page 2 of 2 PageID #: 364



                                CERTIFICATE OF SERVICE

       I certify that a true and correct copy of the foregoing was served upon all counsel of

record herein, via the Court’s ECF system, contemporaneously with its filing.


                                                    /s/ Baxter W. Banowsky




                                                2
